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DIRECTV, Inc.,

Plaintiff,

Ronald Fisher,
Defendant.

THIS CONSTITUTES NOTICE OF ENTRY
AS REQUIRED BY FRCP, RULE 77(Q}.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

I. INTRODUCTION

 

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CLEAK, U.S DISTRICT COUR]

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CENTRAL DISTRICT OF CALIF
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CV 03-8751 LGB (JWJx)

ORDER GRANTING DEFAULT
JUDGMENT

 

ENTERED
CLERK.US DISTRICT COURT

       
 

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DirecTV alleges that Ronald Fisher bought a device to
receive pirate access to DirecTV's television programming.
DirecTV brought this action against Fisher and other defendants
alleging that they received unauthorized DirecTV satellite
signals in violation of 47 U.S.C. § 605(a); received unauthorized
electronic communications in violation of 18 U.S.C. §2511(1) (a) ;
possessed pirate access devices in violation of 18 U.S.C
§2512(1) (b); willfully assembled or modified devices or equipment

in violation of 47 U.S.C. §605(e) (4); and converted property .

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DirecTV now seeks a default judgment against Fisher.

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II. Factual and Procedural Background

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DirecTV provides satellite television programming.

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(Complaint 41). DirecTV encrypts - electronically scrambles- its
satellite transmission to provide security for and to prevent
unauthorized viewing of its satellite television programming.
Id. 42. DirecTV provides its programming to customers on a
subscription and pay-per-view basis only. Id. Each customer is
required to obtain a DirecTV Access Card and other system
hardware and create an account with DirecTV. Id. Upon
activation of the access card by DirecTV, the customer can
receive and view in a decrypted format (unscrambled) those
channels to which the customer has subscribe or purchased from
DirecTV. Id.

On November 20, 2001 DirecTV and the U.S. Marshal Services
executed Writs of Seizure. Id. 43. During the raid, DirecTV
acquired sales records that showed that defendant Ronald Fisher
purchased an illegal Pirate Access Device called a terminator

bootloader. Id. DirecTV also alleges that Fisher purchased and

permit viewing of DirecTV’s television programming without
authorization or payment to DirecTV. Id. 5.

The Complaint in this action was filed on December 1, 2003.
The Complaint alleges {1) receipt of unauthorized satellite
signals in violation of 47 U.S.C. § 605(a); (2) receipt of

unauthorized electronic communications in violation of 18 U.S.C.

 

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used illegally modified DirecTV access cards that are designed to

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§2511(1) (a); (3) possession of pirate access devices in 4
violation of 18 U.S.C §2512(1)(b); (4) willful assembly or =
modified devices or equipment in violation of 47 U.S.C.
§605(e) (4); and (5) conversion. Fisher has not responded to the
Complaint.

The court clerk entered default against Fisher on May 24,
2004. On September 2, 2004 this Court issued an Order to show
cause as to why the case against Fisher should not be dismissed

for lack of prosecution. (See September 2, 2004 Minute Order.)
In response, DirecTV filed the current Motion for Default
Judgment on September 8, 2004. Fisher has not opposed this
Motion.

III. Legal Standard

Federal Rule of Civil Procedure 55 requires a two-step
process to secure a default judgment. First, the party must seek
an entry of default under Federal Rule of Civil Procedure 55(a).
Once the clerk enters a default, the party may seek a default
judgment. See Fed, R. Civ. P. 55(b) (1) & (2).

Federal Rule of Civil Procedure 54(c} provides that “[a]
judgment by default shall not be different in kind from or exceed
in amount that prayed for in the demand for judgment.” Fed. R.
Civ. BP. 54(c). General allegations of damages in a prayer for
relief are sufficient to support a default judgment under Rule

54(c} as long as the defendant is given reasonable notice of the

potential amount at stake. ee Henry v. Sneiders, 490 F.2d 315

 
 

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(9th Cir. 1974).

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According to the Central District of California Local Rule =

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55-1 (“Local Rules”), an application for a default judgment must.)

set forth the following: .

a. When and against what party the default was entered;

b. Whether the defaulting party is an infant or

incompetent ;

Cc. That the Soldiers' and Sailors' Civil Relief Act of

1940 does not apply (i.e., the defaulting party is not
in the military); and

a. That notice has been served on the defaulting party if

required by the Federal Rules.
Local Rule 55-1.

Entry of default by the clerk against a party does not
automatically entitle the other party to a default judgment.
Granting or denying the requested relief is within the sound
discretion of the court. See Aldabe v. Aldabe, 616 F.2d 1089,
1092 (9th Cir. 1980). In exercising its discretion, the district
court should consider the following factors:

1. The possibility of prejudice to plaintiff if relief is

denied;

2. The substantive merits of plaintiff's claim based upon

the pleadings;

3. The sufficiency of the complaint;
4, The amount of money at stake;
5. The possibility of disputes over material facts;

 

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6. Whether default was the result of excusable neglect;

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7. The strong policy of the Federal Rules that favors ,
decision on the merits.
Fitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986); Trustees
of Bay Area Painters and Tapers Pension Fund v. Banks, 1995 WL
688668, at *1 (N.D. Cal. Nov. 2, 1995).

In Eitel v. McCool, the Ninth Circuit emphasized that any
analysis under these factors must start with the general rule
that default judgments are ordinarily disfavored. See id. at
1472. Courts should decide cases on the merits whenever
reasonably possible. See id.; Pena v. Sequros La Comercial,
S.A., 770 F.2d 811, 814 (9th Cir. 1985}.

Upon entry of default judgment, the factual allegations of
the claim regarding liability are taken as true, while
allegations regarding the amount of damages must be proven. See
TeleVideo Systems, Inc. v. Heidenthal, 826 F.2d 915, 917-18 (9th
Cir. 1987); United States v. Wight, 2002 WL 254016, at *4 (E.D.
Cal. Jan. 4, 2002). Where damages are liquidated, or capable of
ascertainment from definite figures contained in documentary
evidence or in detailed affidavits, judgment by default may be
entered without a damages hearing. United States v. Wight, 2002
WL 254016, at *4 (B.D. Cal. Jan. 4, 2002).

IV. ANALYSIS

A. Procedural Requirements

In the instant case, Direct TV has satisfied the

 
 

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requirements of Federal Rules of Civil Procedure 55(b) and 54(c),.,

as well as those of Local Rule 55-1. The clerk entered default

against Fisher on May 24, 2004. DirecTV also attests to the a

facts that Fisher is not an infant, incompetent, or otherwise
exempted under the Soldiers’ and Sailors’ Civil Relief Act of
1940. (See Minnear Declaration 47.) Additionally, in compliance
with Federal Rule 54(c) the Complaint and the Motion for Default
Judgment seek the same statutory damages of $10,000 for each
pirate access device, attorneys fees and costs, and an injunction
prohibiting Fisher from using pirate devices. (Complaint at 10;
Motion at 12.) Finally, DirecTV provided notice of the Motion
for Entry of Default Judgment to Fisher as required by Local Rule
55-2. See Proof of Service attached to application.

B. Eitel Factors

The first Hitel factor is whether DirecTV will suffer

prejudice if the default judgment is not entered. See Eitel, 782

 

F.2d at 1471-72. Fisher is using DirecTV programming without
paying for the service. Therefore DirecTV is suffering prejudice
because it is losing money due to Fisher's conduct.

The second factor that the Court must consider under Eitel
is the substantive merits of the plaintiff's claims based on the
pleadings. The Complaint alleges causes of action for
unauthorized reception of satellite signals in violation of 47
U.S.C. § 605{(a); unauthorized interception of electronic
communications in violation of 18 U.S.C. § 2511(1) (a); possession

of pirate access devices in violation of 18 U.S.C. §2512(1) (b);

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willful assembly or modification of devices or equipment in

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violation of 47 U.S.C. §605{e) (4); and (5} conversion. The fact ts

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in this Complaint show that Fisher ordered a pirate access

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device, and the Court assumes that he knew its purpose and used
it to receive DirecTV without paying. (Complaint 411); see

Community Television Systems, Inc. v. Caruso, 134 F.Supp.2d 455,

460 (D. Conn. 2000). These, with the additional facts in the
Complaint, show the substantive merits of DirecTV's claims.

The third Eitel factor concerns the sufficiency of the
Complaint. Eitel, 782 F.2d at 1471-72. Federal Rule of Civil
Procedure requires that a Complaint have a statement of
jurisdictional grounds, a claim showing that the pleader is
entitled to relief, and a demand for judgment for the relief
that the pleader seeks. Fed. R. Civ. P. Rule 8. DirecTV’s
Complaint contains all the elements required by Rule 8.

The fourth Bitel factor is the amount of money at stake.

See Eitel, F.2d at 1471-72. Here, DirecTV seeks the statutory

 

damages of $10,000 under 18 U.S.C. §2511 and 47 U.S.C. §605

(e) (4) and attorneys fees of $1,200 under 17 U.S.C. §2520 and
Local Rule 55-3. The amount claimed is the minimum amount of
statutory damages that the Court has the discretion to grant for
a violation of 47 U.S.C. §60S5(e) (4) and 17 U.S.C. §2511. Since
this is the minimum amount listed in these statues the Court
finds that the amount of money at stake in this case should not
deter the Court from entering a default judgment against Fisher.

The fifth consideration under Eitel is whether there is a

 

 
 

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possibility of disputes over material facts. See Eitel, 782 F.2d,
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at 1471-72. Since the Defendant has not appeared in this action=

he has not demonstrated a dispute over any material facts. No

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evidence before the Court indicates a possibility of disputes
over material facts.

The sixth Eitel factor is whether the default was the result
of excusable neglect. Nothing in this record suggests excusable
neglect.

Finally, the seventh Eitel factor concerns the strong
federal policy favoring judgments on the merits. Although it is
favorable to resolve cases on their merits, the case at hand does
not warrant a denial of a default judgment on that ground.

Accord Trustees of the Hod Carriers Locals Nos. 36 and 291
Consolidated Pension Fund v. Ricks, 20601 WL 1480817 (N.D. Cal.
Oct. 19, 2001).

Based on this consideration of the seven Eitel Factors, the
Court GRANTS the Motion for Default Judgment against Fisher.

V. Damages

DirecTV's Motion for Default Judgment seeks the statutory
damages of $10,000 for violation of 18 U.S.C. §2511 and 47 U.S.C.
§605 (e) (4) and attorneys fees of $1,200 under 17 U.S.C. §2520
and Local Rule 55-3.

A. Violation of 18 U.S.C. §2511

DirecTV seeks $10,000 in statutory damages pursuant to
§2520(c) (2). This section provides that courts may assess
statutory damages as the greater of $100 a day or $10,000 for

violations of §2511. Most Courts have held that damages under

 
 

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§2520(c) (2) are discretionary. See DirecTV v. Meinecke, 2004 WL...
1535578 *2 (compiling cases that found damages under §2520); rd
DirecTV _v. Brown, 371 F.3d 814, 818 (llth Cir. 2004); Dorris v. \
Absher, 179 F.3d 420, 429 (6th Cir. 1999); Reynolds v. Spears, 93
F.3d 428, 435 (8th Cir. 1996); Nalley v. Nalley, 53 F.3d 649, 652
(4th Cir. 1995); DirecTV v. Perrier, 2004 WL 941641, at *4
(W.D.N.¥. Mar. 15, 2004); but see Rodgers v. Wood, 910 F.2d 444,
447 (7th Cir. 1990) (award of damages mandatory); Biton v. Menda,
812 F.Supp. 283, 284 (D.P.R. 1993). Courts holding a damages
award to be discretionary under §2520(c) (2) typically adhere to
the following analysis:

(1} The Court should first determine the amount of actual
damages to the plaintiff plus the profits derived by the
violator, if any.

(2) The court should next ascertain the number of days that
the statue was violated, and multiply by $100.

(3) The court should then tentatively award the plaintiff
the greater of the two amount, unless each is less than $10,000
in which case $10,000 is the presumed award.

(4) Finally, the Court should exercise its discretion to
determine whether the plaintiff should receive any damages at all
in the case before it.

DirecTV v. Meinecke, 2004 WL 1535578 (S.D.N.Y. 2004); see also
DirecTV, Inc v. Huynh, 318, F.Supp. 2d 1122, 1132 (M.D. Ala.
2004).

In regards to the first inquiry, the Court cannot determine

 
 

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DirecTV’s actual damages or the profits earned by Fisher based on,

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the Complaint. With regards to the second inquiry, the duration =

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that the statue was violated, DirecTV states that Fisher ‘

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purchased the pirate access device on July 20, 2001. (Complaint
(5.) However, the Court cannot determine the number of days that
Fisher used the access device solely based on the number of days
that he owned it. See DirecTV v. Meinecke, 2004 WL 1535578 *3
(S.D.N.Y. 2004) . Therefore, the Court will treat the $10,000 in
damages as the presumed award. Id. (citing DirecTV v. Kaas, 294
F.Supp.2d 1044, 1048 (N.D. Iowa 2004)).

In order to determine the fourth inquiry as whether the
court should exercise its discretion, courts consider (1) whether
the defendant profited by his violation; (2) whether there was
any evidence that the defendant actually used his pirate access
devices; (3) the extent of DirecTV’s financial harm; (4) the
extent of the defendant’s violation; (5) whether the defendant
had a legitimate reason for his actions; (6) whether an award of
damages would serve a legitimate purpose; and (7) whether the
defendant was also subject to another judgment based on the same
conduct. Id. (citing DirecTV. v. Huynh, 318 F.Supp.2d 1122, 1132
(M.D. Ala. 2004) .)

The defendants’ default has made it impossible to determine
some of these factors including whether Fisher profited from his
conduct, whether he used his pirate device, and the extent of his
violations. Id. However, pirate devices rarely serve any
legitimate purpose beyond stealing satellite signals. Id.

(citing DirecTV _v. Getchel, 2004 WL 1202717 *1 (D. Conn. May 26,

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2004). Additionally, an award for damages will serve legitimate

purposes of providing compensation to DirecTV for Fisher's

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accessing the television, for DirecTV's efforts in finding those

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who use pirate devices, and in deterring future satellite

television pirates. Id.;(see also Minear Declaration, Exhibit 6,
{14 - 18 (describing damage to DirecTV including estimated
$2,454.72 annually of lost service charges for three years and
other damages that are difficult to calculate).) Finally, the
Court is not awarding other statutory damages based on the same
conduct. Accordingly, the Court exercises its discretion to
award statutory damages of $10,000.

The Motion does not seek additional damages and the Court
does not grant any.

B. Attorney's Fees

Under § 2520(b) (3) DirecTV is also entitled to a reasonable
attorney's fees and reasonable litigation costs. 18 U.S.C.
§2520(b) (3). Local Rule 55-3 states that in a judgment action,
when a statue provides for recovery of reasonable attorneys fees
between $1,000 and $10,000 an attorneys fees award will be
calculated as $300 plus 10% of the amount over $1,000. The
statutory damages in this claim are $10,000 and therefore the
attorney’s fee award is $1,200.

C. Equitable Relief

The Court further granted equitable relief under 18 U.S.C. §
2520, permanently enjoining Fisher from further use of his piracy

devices.

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VI. Conclusion

Based on the foregoing, DirecTV's Application ofr Entry of =
Default Judgment is GRANTED. Fisher is ordered to pay DirecTV =f
$10,000 in statutory damages and $1,200 in attorney’s fees.

The Court's September 2, 2004 Order to Show Cause is
VACATED.

IT IS SO ORDERED.

Dated: CLither AS Sis

 

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LOURDES G. BAIRD
United States District Judge

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